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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
THE PEOPLE OF THE STATE OF NEW YORK,
by LETITIA JAMES, Attorney General of the VERIFIED
State of New York PETITION
Petitioner, INDEX NO.: 2020
-against- IAS PART:
Star Auto Sales of Bayside, Inc. d/b/a/ Star
Toyota of Bayside,
Respondent.




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 1 of 45 PageID #: 972
ASSIGNED
TO JUSTICE:
The People of the State of New York, by their attorney, LETITIA JAMES, Attorney
General of the State of New York, respectfully allege, upon information and belief:
INTRODUCTION
1. From at least April 12, 2014, Respondent, Star Auto Sales of Bayside,
Inc. d/b/a/ Star Toyota of Bayside, a new and used auto dealership, has repeatedly
and persistently engaged in fraudulent, deceptive, and unlawful practices related to
the sale and financing of new and used vehicles and associated aftermarket items.
2. Respondent's practices include misrepresenting negotiated prices on
consumer contracts, adding unwanted aftermarket items to consumers' contracts
without the consumers' knowledge or consent, failing to provide consumers with
copies of their sales and lending contracts, and making other false claims related to
the consumers' financing.
3. Respondent's sales staff target Chinese-speakers, taking advantage of
their lack of lack of English sldlls and knowledge of domestic auto sales practices.
4. The Attorney General of the State of New York ("NYAG") brings this
special proceeding to enjoin Respondent permanently from engaging in such
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fraudulent, deceptive, and illegal conduct in connection with their operation as an
auto dealership. The NYAG seeks permanent injunction, restitution, damages,
accounting, civil penalties, disbursements, and statutory costs.
PARTIES AND JURISDICTION
5. Petitioner is the People of the State of New York by their attorney, Letitia
James, Attorney General of the State of New York.
6. The NYAG brings this proceeding pursuant to: (i) Executive Law §
63(12) which empowers NYAG to seek injunctive relief, restitution, disgorgement,
damages, and other equitable relief when a person or business entity engages in
repeated fraudulent or illegal acts or persistent fraud or illegality in carrying on,




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conducting or transacting of business; and (ii) General Business Law ("GBL") Article
22-A which empowers the NYAG to seek injunctive relief, restitution, civil penalties,
and other equitable relief against any person or business entity that has engaged in
deceptive acts or practices and/or false advertising in the conduct of business.
7. Respondent is domestic corporation, having its principal place of
business at 205-11 Northern Boulevard, Bayside, New York. The dealership is a
Toyota franchisee, selling, leasing, and servicing new and used automobiles.
FACTS
I. Respondent Targeted Vulnerable Chinese-Speaking Consumers
8. Respondent targeted Chinese-speaking consumers by advertising in
Chinese publications that the dealership had Chinese-speaking sales reps on staff.
Many Chinese-speaking consumers went to Star reassured by these ads, grateful
that they would be able to make purchases in their native language.
9. Other consumers went to Star because they were reassured by the size
of the dealership. These consumers assumed such a large business was unlikely to
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•
cheat them. However, they were also reassured when they found they could
negotiate their transactions in their native language.
10. These Chinese-speaking consumers naturally trusted Respondent's
sales reps because of their common language.
11. Additionally, Respondent's Chinese-speaking sales staff encouraged
these consumers to rely on the bond of trust created by their shared language.
12. However, the consumers eventually realized their trust was misplaced.
In a number ways, discussed more-fully below, Respondent's sales staff used the
bond of a common language to defraud the consumers.




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II. Respondent Inflated Sales Prices and Jammed Aftermarket Items by
Omissions, Misrepresentations, and False Promises
A. Respondent inflated consumers' vehicle costs above the negotiated
prices
13. Many Chinese-speaking consumers, being unable to read English,
discovered only after their purchases that Respondent's sales staff charged them far
more for their cars than they had ever agreed to pay during their negotiations.
B. Respondent jammed undisclosed aftermarket items into consumers'
contracts
14. Respondent's sales staffs deceptive tactics included adding unwanted
aftermarket items into the consumers' sales contracts; a practice called "jamming"
in auto industry parlance. These items included high-cost and low-value products
or services such as supplemental warranties and service contracts, protective
coatings for tires, or various anti-theft devices. Star's sales reps regularly engaged
in jamming against Chinese-speaking consumers, often without mentioning the
jammed items during the sales negotiations.
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C. Respondent jammed aftermarket items into consumers' contracts by
making material misrepresentations or omissions during sales
negotiations
15. In some instances, Respondent's sales staff jammed the unwanted
aftermarket items into consumers' contracts by falsely claiming the items were free
or included in the previously negotiated price.
16. In other instances, Respondent's sales staff brought up aftermarket
items without mentioning any prices, leading the consumers to the false assumption
Respondent was including the items in their negotiated prices.
17. Sometimes Respondent's sales reps mentioned aftermarket items after




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obtaining consumer down payments, and then threatened to retain the payments if
the consumers did not agree to the previously unmentioned charges.
18. Additionally, Respondent's sales reps falsely claimed lenders required
service contracts or other aftermarket items. Respondent claimed the policies were
required to get good interest rates, that lenders would not offer loans without the
extra contracts, or that Star could not sell the cars without including these
additional unwanted purchases.
19. Respondent's sales reps also jammed unwanted aftermarket items into
consumers' contracts by misrepresenting the items' scope or coverage.
20. Respondent's sales staff jammed aftermarket items into consumers'
contracts even after the consumers had specifically declined the items.
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III. Respondent's Sales Forms Were Incomplete, Inaccurate, & Deceptive
A. Respondent's failure to itemize costs on sales contracts facilitated
jamming
21. Respondent's sales staff frequently listed the afterrnaxket items on
consumers' contracts without any prices, preventing the consumers from noticing
the cost of unmentioned items while signing their sales and lending documents.
22. In some instances, Respondent's staff appears to have added the cost
of afterrnarket items to consumers' purchases without even listing the items on the
sales contracts.
B. Respondent added unexplained costs to consumers' contracts




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23. Respondent's sales contracts included significant charges added to
consumers' contracts without any explanation at all. Often, these charges could not
be explained even when the consumers and the NYAG reviewed Star's internal sales
records.
24. In February of 2019, the NYAG took testimony from Respondent's used
car sales manager. The manager claimed to be the only person who reviews Star's
sales documents for used car transactions. However, even he was unable to shed
light on these unexplained charges.
25. To understand the unexplained charges the NYAG reviewed Star's deal
jackets, but the Respbndent's paperwork only led to more confusion. The deal
jackets included Star's internal profit reports that list the items sold to the
consumers, how much Respondent charged for each item, the dealership's cost for
each items, the resulting profit from each item, and the commission paid to the sales
staff. Many of these profit reports included charges of hundred or even thousands
of dollars for "wax." Star records "wax" as a 100% profit for the dealership; if the
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profit report shows the consumer paid $1,695 for "wax," the dealership's profit was
also $1,695. Whatever "wax" means, it is a product or service that was neither listed
on any other sales documents nor mentioned to any of the consumers.
26. During an investigative hearing, the manager of Respondent's used car
location could not explain what "wax" meant on a number of Star's profit reports.
27. Finally, in some instances Respondent's paperwork is inconsistent
from document to document. Based on the inconsistencies and irregularities, it can
be impossible to tell from Respondent's records what some consumers bought or
what they are paying for those purchases.
IV. Respondent's Additional Deceptive Sales Practices




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A. Respondent offered inadequate and deceptive translations services
28. After negotiating in Chinese, some consumers asked for sales contracts
in Chinese. However, Respondent does not maintain Chinese-language contracts.
29. Often, the Chinese-speaking sales reps brought their consumers to
English-speaking finance managers to sign their paperwork. The sales reps would
offer to stay to assist with the paperwork and translation, but would then fail to
translate what the managers said or even explain the meaning of the documents the
managers asked the consumers to sign.
30. In some instances, consumers who negotiated entirely in Chinese and
spoke absolutely no English ended up signing their sales and lending contracts
alone with finance managers who spoke no Chinese.
31. However, more often the Chinese-speaking consumers never met a
finance manager. Instead, they signed their paperwork with the same Chinese-
speaking sales reps with whom they had negotiated their sales. In these instances,
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the consumers report that the sales reps explained virtually nothing about the
paperwork they asked the consumers to sign.
32. Respondent's sales reps also encouraged the consumers to sign the
sales documents by verbally repeating the negotiated terms even as the consumers
were signing paperwork containing significantly higher costs.
B. Respondent's other deceptive sales practices
33. After negotiating a deal, the Respondent's sales staff left consumers to
wait for hours before seeing their contracts without any explanations for the delays.
Many consumer remember being tired and hungry by the time they saw their
paperwork and admit that by the time they saw their contracts they were ready to




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sign anything to get out of the dealership.
34. Respondent's sales reps asked consumers to sign loan contracts with
blank terms, claiming that the banks would complete the forms after the consumers
signed them.
35. Respondent's sales staff refused to accept one-time cash payments
from Chinese-speaking consumers, then cheated them on their financed purchases.
36. Finally, Respondent's sales staff made false promises to some
consumers, verbally agreeing to buy back the consumers' cars years after the sale
for generous prices.
37. Many of the aftermarket items Respondent sold were services or
insurance products administered by third-party agencies. To activate the policies or
services, Respondent had to send the third-party agencies a portion of the
consumers' payments. However, in some instances Respondent failed to forward
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these payments to the administrators, so consumers were then unable to use the
products for which they paid.
38. After engaging in deceptive practices against Chinese-speaking
consumers during their sales, Respondent's sales reps took advantage of their lack
of familiarity with domestic auto sales practices by falsely claiming that tips for sales
staff were required or customary.
39. However, demanding tips was just one of the questionable means
Respondent's sales reps employed to obtain fraudulent cash payments from these
consumers. The sales reps also demanded cash payments for setting up their
insurance, for items that were already accounted for in the consumers' sales




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contracts, or for other charges that the reps simply invented.
V. Respondent Failed to Provide Consumers' Sales and Lending Contracts
A. Respondent failed to provide copies of sales and lending contracts to
consumers
40. Many Chinese-speaking consumers did not realize Respondent
overcharged them until receiving their first bill and seeing they were paying more
than promised.
41. These consumers were initially unaware they had been cheated by
Respondent, in part because the sales reps systematically failed to provide copies of
the sales contracts that should have shown all the itemized costs.
42. Respondent also failed to provide many consumers copies of their loan
contracts.
43. Respondent's sales reps refused to provide the sales and lending
contracts even when consumers called or returned to Star specifically to ask for the
paperwork.
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B. Respondent's failure to provide sales and lending contracts harmed
consumers
44. Respondent's failure to give consumers their sales and lending
contracts inhibited their ability to determine what Star actually sold them or how
much everything cost.
45. Worse still, many consumers will never see their contracts as
Respondent failed to maintain copies of their records. These consumers know
Respondent overcharged them, but will never find out exactly how Star's sales staff
cheated them or even know what extra items were jammed into their contracts.
46. It was already difficult for Chinese-speaking consumer to draft
coherent complaints in English. However, Respondent's failure to provide copies of




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their sales and lending contracts made that task nearly impossible.
VI. Deceptive Practices Related to Lending
A. Respondent misrepresented interest rates and other lending terms
47. In addition to engaging in deceptive practices related to the purchase
costs for the Chinese-speaking consumers,' Respondent also misled them on
elements of their loans. In the simplest instances, Respondent misled the consumers
about the interest rates they would be paying.
48. Dealerships can set up consumer loans at higher interest rates than
what the lenders offer. When they do, they get to keep a portion of the consumers'
additional financing costs. In auto industry parlance, this legal kickback is called
the financial reserve. However, while the practice is legal, it was deceptive for
Respondent's sales staff to claim they were giving consumers the best possible
interest rates, fully aware that they were adding as much as 2% to the consumers'
interest rates and pocketing a portion of the extra financing costs.
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49. Respondent's sales team also misrepresented the length of the
consumers' loans, disguising how much Star was charging consumers for their
purchases.
E. Respondent made false promises & misrepresentations related to
refinancing
50. In addition to making misrepresentations to consumers about the
terms of their loans, Respondent's sales reps also falsely promised to refinance the
consumers' loans at a lower rate after a set number of payments. Such promises are
facially deceptive as Respondent is not a lender and has no ability to predict or
control future interest rates or any of the myriad of other factors that go into




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financing decisions. The sales reps usually made these promises during the
consumers' transactions to induce them to sign the contracts, but they also made
these promises in response to consumers' complaints about overcharges. Often the
promises were very specific, such as offering to lower the consumers' loans to a
particular interest rate after a set number of payments. Other times, the reps only
promised to lower the interest rate without being specific about the amount of the
reduction.
Si. On rare occasions when Respondent's sales staff honored the promises
to refinance consumers' loans, they took the opportunity to defraud the consumers
a second time, jamming new unexplained costs into the new contracts.
C. Respondent submitted inaccurate consumer credit applications
52. Respondent's sales staff routinely submitted false information about
consumers' personal and financial status on credit applications. This included
making up false employment and employers, deceptive job titles, inflated incomes,
and false housing costs.
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53. The manager of Respondent's used car location acknowledged that the
sales staff had made misrepresentations on the consumers' credit applications in
order to secure loans that might not be approved otherwise.
54. By submitting fraudulent credit applications, Respondent obtained
loans that some of the consumers struggled to afford.
VII. Respondent's Fraudulent Practices Following the Initial Sales
A. Respondent committed fraud related to trade-ins
55. Facing payments they could not afford, some consumers returned to
Star to seek relief by trading in their cars. Some of the consumers returned to trade
in their cars still unaware Respondent had defrauded them on their first transaction.




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Others knew Respondent had cheated them, but were so desperate for relief from
the excessive monthly costs that they returned to the dealership anyhow.
56. For consumers making these trade-ins, the point was to lower their
monthly costs. However, in some instance, after promising lower monthly payments,
Respondent gave the consumers loans with even higher monthly costs.
57. While making these trade-ins, Respondent's sales reps took the
opportunity to engage in a second round ofjarnming aftermarket items, adding even
more costs to the loans of these already overburdened consumers.
58. In addition to adding new aftermarket items to the trade-in contracts,
the sales reps routinely failed to explain how much of the consumer's prior loan
balances had been rolled over into the new financing arrangements.
B. Respondent failed to take reasonable steps to address consumer
complaints
59. When consumers returned to Star to complain about overcharges, the
sales staff would not treat them fairly. Sometimes, Respondent's sales staff would
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initially speak to the consumers, but refuse to continue talking once they realized
the consumers were complaining. Other consumers claim Respondent's sales staff
simply ignored them from the start.
60. Star's management was equally unhelpful in addressing complaints.
When consumers spoke to anyone in charge, the managers just told the consumers
to go back to the same sales reps who cheated them in the first place.
61. When Star's staff responded to complainants, the answers were
unsupported, vague, and often failed to address the consumers' actual complaints.
62. A particularly disingenuous explanation of overcharges by Star's sales
reps was to claim that previously undisclosed banks fees accounted for some of the




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overcharges. However, the reps then refused to provide any documentation for these
fees, and when consumers contacted their lenders the bank's reps said the banks
had not assessed any such consumer costs.
63. When consumers complained about overcharges, Respondent's sales
team would often just rely on the fact that the consumers has signed the contracts
to avoid having to address the complainants' issues at all.
64. In all, many consumers reported that Respondent's overall strategy in
handling complaints alternated between false promises and ignoring them entirely
in the hope that the consumers would give up and accept their losses.
C. Respondent's deceptive practices related to consumer refunds
65. When the consumers were persistent, Respondent would offer them
partial refunds. Invariably, the refunds were for far less than what the consumers
believed they were due, but a few felt so defeated that they accepted the offers.
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66. Respondent then tricked and/or coerced the consumers who accepted
these reduced refunds into signing English-language general release forms that they
could not understand by misrepresenting what the forms even were.
67. However, many consumers, realizing that the refunds would cover so
little of their overcharges, refused Respondent's offers.
68. On some occasions, Respondent's sales reps would put off
complainants offering false promises they would refund consumers' purchase prices
once they found other buyers for the consumers' cars. However, neither the sales
nor the refunds ever happened.
D. Respondent was abusive and threatening in responding to




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complainants
69. In addition to being unhelpful in responding to consumer complaints,
the sales reps were often abusive, insulting, and sometimes even threatening in their
responses.
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FIRST CAUSE OF ACTION
PURSUANT TO EXECUTIVE LAW § 63(12)
FRAUD IN THE CONDUCT OF BUSINESS
1. The NYAG repeats and re-alleges paragraphs 8 through 69 as if fully
set forth herein.
2. Executive Law § 63(12) defines "fraud" or "fraudulent" to include "any
device, scheme or artifice to defraud and any deception, misrepresentation,
concealment, suppression, false pretense, false promise or unconscionable
contractual provisions."
3. As set forth in paragraphs 8 through 69, Respondents repeatedly




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engaged in fraud in the conduct of business, including, but not limited to:
. targeting Chinese-speaking consumers to defraud due to their lack of
English proficiency with vehicle purchases;
• misleading consumers into signing sales and lending contracts
containing higher than negotiated vehicle prices;
• jamming unwanted aftermarket items into sales contracts without
mentioning the items to the consumers;
• falsely claiming unwanted aftermarket items were included for free;
• telling consumers they were receiving aftermarket items without
mentioning any prices for the items, leading consumers to wrongly but
reasonably believe the items were being included free of charge;
• threatening to retain consumer's down payments if they did not agree
to purchase previously unmentioned aftermarket items;
. falsely telling consumers the interest rates or their ability to obtain
loans were dependent on the purchase of aftermarket items;
• lying to consumers about the scope of coverage of aftermarket items;
. jamming unwanted items into consumers' contracts after the
consumers specifically declined to purchase the items;
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• failing to itemize the prices for individual aftermarket items on
consumers' sales contracts or adding the cost of the aftermarket items
without listing the items;
• adding unexplained charges to consumers' sales contracts;
• failing to provide Chinese-speaking consumers with contracts in the
languages that Respondent's sales reps used during the sales
negotiations;
• offering to assist consumers by translating for them as they signed their
sales and lending documents, but then either failing to translate
anything at all or providing only vague explanations of the sales and




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lending documents;
• asking Chinese-speaking consumers to sign English-language sales
contracts alone with Finance Managers who spoke only English;
• encouraging consumers to sign contracts by repeating the negotiated
terms while simultaneously asking consumers to sign paperwork with
vastly inflated costs;
• making consumers wait for inordinate periods before being allowed to
review and sign their sales and lending contracts;
• asking consumers to sign lending contracts with blank terms by
claiming the banks would complete the paperwork after it was signed;
• facilitating deceptive overcharges by refusing to accept cash payments;
• encouraging consumers to make purchases by offering false promises
to buy back consumers' vehicles at generous prices after a
predetermined period;
• failing to pay third-party administrators to activate the aftermarket
items consumers had purchased;
• demanding tips from consumers who were unfamiliar with domestic
auto sales practices;
• demanding other inappropriate cash payments from consumers
unfamiliar with domestic auto sales practices and/or demanding cash
payments for charges already included in the consumers' contracts;
• failing to provide consumers with copies of their sales and/or lending
contracts, both at the time of the sales or when requested by the
consumers after the sales;
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• failing to retain consumers' sales records, thereby preventing the
consumers from knowing what Respondent actually sold them;
• misrepresenting consumers' interest rates during sales negotiations;
• falsely telling consumers that Respondent was offering the best
possible interest rates, when in fact the dealership was covertly raising
the consumers' rates above what the lenders had offered;
• misrepresenting the length of the loans they set up for consumers;
• making facially deceptive promises to refinance consumers' loans after
a set number of payments;
• then, on the rare occasions the refinancing promises were honored,




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engaging in a second round of jamming of unwanted items into the
consumers' new contracts;
• submitting fraudulent credit applications to lenders, exaggerating the
consumers' creditworthiness, often resulting in loans the consumers
would struggle to repay;
• promising to help consumers with oppressive loans by arranging trade-
ins to lower the consumers' monthly payments, but actually increasing
the monthly payments;
• jamming unwanted afterrnarket items into the new contracts when
consumers, seeking relief from the oppressive loans, sought to trade-in
their cars;
• refusing to tell consumers how much of their prior loans would be
rolled into their new loans during trade-ins;
• failing to take reasonable steps to address consumer complaints;
• making false promises to refund consumers after reselling their
vehicles;
• engaging in deceptive practices related to issuing refunds;
• engaging in abusive and threatening behavior in response to consumer
complaints.
4. By the foregoing, Respondents have engaged in repeated and persistent
fraud in violation of Executive Law § 63(12).
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SECOND CAUSE OF ACTION
PURSUANT TO EXECUTIVE LAW § 63(12)
ILLEGALITY IN THE CONDUCT OF BUSINESS
BY VIOLATION OF GBL § 349
5. The NYAG repeats and re-alleges paragraphs 8 through 69 as if fully
set forth herein.
6. GEL, Article 22-A, § 349 prohibits deceptive acts and practices in the
conduct of any business, trade, or commerce in the state of New York.
7. As set forth in paragraphs 8 through 69, Respondents repeatedly
engaged in deceptive acts and practices. The acts constituting deceptive trade




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practices are the same as the acts constituting fraud pursuant to Executive Law §
63(12) and are listed above in the first cause of action.
8. By of the foregoing, Respondents repeatedly and persistently violated
GBL § 349, and thereby engaged in repeated and persistent illegal conduct in
violation of Executive Law § 63(12).
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THIRD CAUSE OF ACTION
PURSUANT TO EXECUTIVE LAW § 63(12)
ILLEGALITY IN THE CONDUCT OF BUSINESS
BY VIOLATION OF MOTOR VEHICLE RETAIL INSTALLMENT SALES ACT
9. The NYAG repeats and re-alleges paragraphs 8 through 69 as if fully
set forth herein.
10. Article 9 of the N.Y. Personal Property Law ("PPL") contains the Motor
Vehicle Retail Installment Sales Act. This Article, at PPL § 302, sets forth the
requirements for retail installment contracts, requiring, inter act, that: (a) the seller
must deliver to the buyer a copy of the signed contract; (b) the contract must not be




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signed by any party when it contains blank spaces to be filled in after it has been
signed; and (c) until the seller provides the consumer a copy of the retail installment
contract signed by both parties, or the consumer takes delivery of the vehicle, the
consumer shall have an unconditional right to cancel the contract, to receive an
immediate refund of all payments, and to have any contemplated trade-in returned.
11. As set forth in paragraphs 8 through 69, Respondents repeatedly
engaged in deceptive acts and practices, including, but not limited to:
• failing to provide consumers with copies of their retail installment contracts at
the time of the transactions or even when consumers returned to Respondent's
dealership specifically to demand their sales and lending contracts; and
• obtaining consumer signatures on retail installment contracts with blank terms,
while telling the consumers that the banks fill in the blank terms after the
contracts are signed;
12. By of the foregoing, Respondents repeatedly and persistently violated
PPL § 302 of the Motor Vehicle Retail Installment Sales Act, and thereby engaged in
repeated and persistent illegal conduct in violation of Executive Law § 63(12).
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FOURTH CAUSE OF ACTION
PURSUANT TO EXECUTIVE LAW § 63(12)
ILLEGALITY IN THE CONDUCT OF BUSINESS
BY VIOLATION OF N.Y. INSURANCE LAW § 7906
13. The NYAG repeats and re-alleges paragraphs 8 through 69 as if fully
set forth herein.
14. Insurance Law § 7906 states that a seller "shall not require the
purchase of a service contract as a condition of a loan or other extension of credit
or a condition for the sale or other disposition of any property."
15. As set forth in paragraphs 8 through 69, Respondents repeatedly told




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 19 of 45 PageID #: 990
consumers they were required to purchase unwanted service contracts as a.
precondition to arranging financing for their vehicles or that the dealership was not
permitted to sell the cars without the service contracts.
16. By of the foregoing, Respondents repeatedly and persistently violated
Insurance Law § 7906, and thereby engaged in repeated and persistent illegal
conduct in violation of Executive Law § 63(12).
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RELIEF
WHEREFORE, the NYAG respectfully requests that a judgment and order be
issued:
1. Permanently enjoining Respondent from violating Executive Law §
63(22) and GBL § 349, and from engaging in the fraudulent, deceptive, unfair, and
illegal practices alleged herein;
2. Permanently enjoining Respondent from violating N.Y. Personal
Property Law § 302 by failing to provide consumers copies of their retail installment
contracts;
3. Permanently enjoining Respondent from violating N.Y. Insurance Law




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 20 of 45 PageID #: 991
by representing that the sale of a vehicle or the provision of financing for a vehicle
sale is predicated on the sale of a service contract;
4. Directing Respondent to make full restitution and pay damages to all.
Chinese-speaking consumers, known and unknown, who (i) purchased or leased an
automobile from Respondent from a date six years prior to the filing of this matter
to the present, and who (ii) were sold aftermarket products or services without their
full knowledge or consent, or in any other way victims of Respondent's fraudulent
and illegal practices alleged herein, and to pay costs associated with identifying
potential unknown consumer victims of the same;
5. Directing Respondent to provide an accounting to assist with the
identification of potential unknown consumer victims of Respondent's fraudulent
and illegal practices alleged herein;
6. Directing Respondent to pay a civil penalty of $5,000 to the State of
New York for each violation of GEL Article 22-A, pursuant to GBL § 350-d;
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7. Awarding petitioner costs pursuant to CPLR § 810]. including
disbursements pursuant to § 8301(a)(13), plus an additional allowance of $2,000
against Respondent pursuant to CPLR § 8303(a)(6); and
8. Granting such other relief as is just and proper.
Dated: October 7, 2020 Respectfully submitted,
By:
LETITIA JAMES
Attorney General of the State of New York
Attorney for Petitioner
Matthew S. Eubank




                                                                                  Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 21 of 45 PageID #: 992
Assistant Attorney General
Brooklyn Regional Office
55 Hanson Place, Suite 1080
Brooklyn, NY 11217
Phone: (718) 560-2040
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VERIFICATION
STATE OF NEW YORK )
) ss.:
COUNTY OF KINGS )
MATTHEW S. EUBANK, an attorney duly admitted to practice law in the
Courts of the State of New York, being duly sworn, deposes and says that:
1. I am an Assistant Attorney General in the Brooklyn Regional Office of
Letitia James, Attorney General of the State of New York, and am duly authorized
to make this verification.
2. I have read the annexed Verified Petition and know the contents




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 22 of 45 PageID #: 993
thereof, which are to my knowledge true, except as to those matters stated to be
alleged on information and belief, and as to those matters, I believe them to be true.
The grounds for my belief as to all matters stated upon information and belief are
set forth in the attached Verified Petition and include investigatory materials and
information contained in the files of the Brooklyn Regional Office of the Office of the
Attorney General.
3. The reason this verification is made by your deponent and not by the
State of New York is that the State of New York is a body politic and sovereign acting
through its officials and agents. The Attorney General is the statutory
representative.
Sworn to before me this
-7 day of oc-fro 1.â€* I 2020.
NO
JAMES SFIROUDIS
Notary Public- Stale of New York
Registration No. 013F8114550
Ouattfied in Queens County
Commission Exphs Aug. 23, 20.0-
22
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
THE PEOPLE OF THE STATE OF NEW YORK,
by LETITIA JAMES, Attorney General of the
State of New York
Petitioner,
-against-
Star Auto Sales of Bayside, Inc. d/b/a/ Star
Toyota of Bayside,
Respondent.




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 23 of 45 PageID #: 994
CONSENT ORDER
AND JUDGMENT
INDEX NO.: 2020
'AS PART:
ASSIGNED
TO JUSTICE:
IT IS HEREBY ACKNOWLEDGED, STIPULATED, CONSENTED TO AND
AGREED, by and between Petitioner, the People of the State of New York, by its
attorney, the Attorney General of the State of New York (Matthew S. Eubank, of
counsel) and by Respondent, Star Toyota of Bayside, Inc. d/b/a Star Toyota of
Bayside, as follows:
I. Respondent acknowledges it has received a written notice of proposed
litigation pursuant to Executive Law §63(12) and General Business Law §§ 349(c)
and 350-c, and has been served with a copy of the Verified Petition. Respondent also
acknowledges that it has received a copy of the annexed Consent Order and
Judgment (hereinafter "Consent Order") and agree to the obligations and duties it
imposes;
2. Respondent consents to entry of the attached Consent Order without
further notice;
3. Respondent enters into this Stipulation and Consent agreeing to the
entry of the attached Consent Order to resolve the Attorney General's civil
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investigation into its business practices without admitting or denying any liability,
wrongdoing, or legal or factual issues alleged in the Verified Petition, to obviate the
need for trial and to facilitate a resolution to this matter;
4. Respondent enters into This Stipulation and Consent of its own free
and voluntary act, with full knowledge and understanding of this proceeding and
the obligations imposed upon it by the attached Consent Order;
5. Respondent represents and warrants, through the signatures below,
that the terms and conditions of this Consent and Stipulation are duly approved
and the execution of this Consent and Stipulation is duly authorized;
6. Respondent shall not take any action or make any statement denying,




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 24 of 45 PageID #: 995
directly or indirectly, the propriety of the attached Consent Order or expressing the
view that the attached Consent Order is without factual basis;
7. Nothing in this paragraph affects Respondent's (1) testimonial
obligations or (ii) right to take legal or factual positions in defense of litigation or
other legal proceedings to which the Office of the Attorney General is not a party;
8. The Consent Order is not intended for use by any third party in any
other proceeding and is not intended, and should not be construed, as an admission
of liability by Respondent;
9. Acceptance of this Stipulation and Consent as well as the Consent
Order by the Attorney General of the State of New York shall not be deemed or
construed as an approval by the Attorney General of any of the activities of Star
Toyota of Bayside, Inc. d/b/a Star Toyota of Bayside, or any of their subsidiaries,
officers, employees, agents, or assigns, and none of them shall make any
representation to the contrary;
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10. Petitioner may apply to the Court upon a twenty-day notice to
Respondent for such other and further relief as it deems necessary for the purpose
of carrying out the terms of the Consent Order.
WHEREFORE, the following signatures are affixed hereto this •• day of
____________ 2020.
ATTORNEY GENERAL OF THE
STATE OF NEW YORK
By:
MATTHEW S. EUBANK, ESQ.,
Assistant Attorney General




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 25 of 45 PageID #: 996
Brooklyri Regional Office
NYS Office of the Attorney General
55 Hanson Place, Suite 1080
Brooklyn, New York 11217
(718) 560-2040
3
STAR TOYOTA OF BAYSIDE, INC.
By:
Michael Koufalcis,
as President of Star Toyota
of Bayside, Inc.
STEVAN LAB SQ.,
as counsel for St Toyota
of Bayside, Inc.
Labonte Law Group
333 Jericho Turnpike, Ste. 200
Jericho, NY 11753
(516) 280-8580
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At IAS Part 40 of the Supreme Court of the State of
New York, held in and for the County of Queens,-14
.1..1.144,94earPfir on the 10th day of November , 2020.
Present: Hon. Richard G. Latin
Supreme Court Justice
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
THE PEOPLE OF THE STATE OF NEW YORK,
by LETITIA JAMES, Attorney General of the
State of New York




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 26 of 45 PageID #: 997
Petitioner,
-against-
Star Auto Sales of Bayside, Inc. d/b/a/ Star
Toyota of Bayside,
Respondent.
CONSENT ORDER
AND JUDGMENT
INDEX NO.: 2020/718092
1AS PART: 40
ASSIGNED
TO JUSTICE: Hon. Richard G. Latin
UPON the Verified Petition (the "Petition") dated October 7, 2020 and the
Consent and Stipulation, in which the parties consent to the entry of this Consent
Order and Judgment ("Consent Order") and waive notice of entry thereof,
IT NOW APPEARS that Star Toyota of Bayside, Inc. d/b/a Star Toyota of
Bayside is willing to enter into this Consent Order without admitting or denying any
of the allegations contained in the Petition.
NOW, on motion of Attorney General for the State of New York, ("NYAG")
attorney for petitioner herein (Matthew S. Eubank, Assistant Attorney General, Of
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Counsel) and upon consent of respondent and their attorney, Stevan Labonte Esq.
of the Labonte Law Group, PLLC., it is hereby:
PARTIES SUBJECT TO JUDGMENT
1. ORDERED, ADJUDGED, AND DECREED that this Consent Order
shall extend to Star Toyota of Bayside, Inc. d/b/a Star Toyota of Bayside, and their
principals, directors, officers, shareholders, employees, successors, and assignees
and agents acting in concert or in participation with it; and to any corporation,
company, business entity, or other entity or device through which they may now or
hereafter act or conduct business at this dealership (hereinafter cumulatively
referred to as "Respondent"); and it is further




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DEFINITIONS
2. For the purposes of this Consent Order, these terms shall have the
following meanings:
(a) An "Afterrnarket Item" is any product, service, or policy for which
the consumers is paying over and above the amount the consumer is paying
to purchase or lease the vehicle. These Aftermarket Items include but are not
limited to extended warranty arrangements, service contracts, and gap
insurance policies related to etching the vehicle identification numbers in the
glass of the car;
(b) "Clearly and Conspicuously" shall mean that the statement,
representation, or term is presented to be readily apparent and understood
by the person to whom it is being addressed. Relevant factors for this purpose
include, but are not limited to language, font type, size, length, and color
contrast;
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(c) "Related Documents" include:
(1) any document that the consumer signs, excluding forms
provided by New York State (such as MV-50 forms or other state-
produced documents;
(ii) any documents containing the Respondent's policy on
refunds, cancellations, or exchanges;
(iii) any document containing terms and conditions of the
agreement;
(iv) any document containing guarantees or warranties given
by the Respondent; and




                                                                                Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 28 of 45 PageID #: 999
(v) any document excluding or modifying express or implied
warranties;
(d) "Sales Staff' means all sales representatives, finance or business
managers, sales managers, and any other employees directly involved in
selling or leasing vehicles to consumers; and it is further
INJUNCTIVE RELIEF
3. ORDERED, ADJUDGED, AND DECREED that Respondent is
permanently enjoined from engaging in the deceptive, fraudulent, or illegal business
acts or practices alleged in the Petition in violation of Executive Law § 63(12) and
General Business Law ("GBL") § 349, including but not limited to the following:
(a) misrepresenting sales prices or any other sales or lending terms
to any non-English speaking consumer during sale or financing discussions,
or misrepresenting terms contained on the sale, lease, or financing contracts;
(b) selling or offering for sale, or providing to any consumer, any
Aftermarket Items unless prior to sale or lease Respondent discloses, Clearly
and Conspicuously, both orally and in writing, a fair description of the
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Aftermarket Item, the full price to be paid by the consumer for each product
or service;
(c) representing directly or by implication during a sale or lease that
any Aftermarket Item is free, including such language as "included" or "comes
with the car," or by describing the Aftermarket Item without stating any price
for the product, service, or policy;
(d) charging any consumer for an Aftermarket Item without the
consumer's express consent or after the consumer has refused to purchase
the product, service, or policy;
(e)




                                                                                 Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 29 of 45 PageID #:
selling any Aftermarket Item to any consumer based on any
misrepresentation about the item, product, or service including the scope of
coverage of the item;
(f)
selling any Aftermarket Item to consumer based on any
misrepresentation that the item is required by the dealership, the lender, or
any other entity in order to complete the transaction, to obtain financing, to
obtain a particular financing rate, or to be allowed to purchase or lease a
vehicle at an advertised price;
(g)
threatening to retain consumers payments if they do not agree




                                                                                                                     1000
to purchase unwanted Aftermarket Items;
(h) failing to provide any consumer with a copy of the consumer's
sale or lease contract at the conclusion of any transaction;
(1) producing sale or lending contracts that include unexplained
costs or include any Aftermarket Items without the price for each product of
service Clearly and Conspicuously listed immediately adjacent to each item;
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U) allowing consumers to sign sales or lending contracts without all
of the relevant terms filled in;
(k) refusing to accept cash or upfront payments for vehicle purchase
by requiring that any consumer accept financing when such a requirement is
not actually part of terms of a manufacture's sale or conspicuously disclosed
in an advertisement;
(1) misrepresenting the financing terms, including the length or the
interest rate of the loan;
(m) promising to refinance any consumer's vehicle loans in the
future, and/or promising to refinance any consumer's loan at better rate or




                                                                                      Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 30 of 45 PageID #:
with specific terms in the future;
(n) misrepresenting the amount being given as trade-in allowances
on consumer vehicles or including portions of previous loans in new
consumer loans without the consumers understanding and consent; and
(o) misrepresenting any consumer's personal financial information
on a credit application; and it is further
4. ORDERED, ADJUDGED, AND DECREED that Respondent shall
provide to non-English speaking consumers translations of all the Related
Document for any new or used, lease or sale vehicle transactions in the language in
which the sale was negotiated. Respondent shall provide these Translated
Documents to the non-English speaking consumer before the consumer signs the




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corresponding documents in English, and:
(a) Respondent shall produce these Translated Documents and
implement their use in all vehicle transactions negotiated in a foreign
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language by no later than ninety days after the entry of this Consent Order
(the "Translation Implementation Period").
(b) Upon written notice to the NYAG before the expiration of the
Translation Implementation Period and demonstrating good cause,
Respondent may twice request that the NYAG extend the Translation
Implementation Period to allow Respondent to resolve any outstanding issues
with respect to their ability to produce and provide to consumers the
Translated Documents, including issues with any third-party finance or
leasing companies. Assuming Respondent has provided good cause, the NYAG
will extend the Translation Implementation Period based on these requests




                                                                                      Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 31 of 45 PageID #:
for as many as two additional periods of sixty days each;
(c) The Translated Documents shall be an aid to the consumer and
not the operative contracts or documents and they contain appropriate
disclosures to that effect; and
(d) The Translated Documents may be in any form, so long as the
organization, number and identification of sections, paragraphs, and line
items enable the reader of the translated version reasonably to ascertain
which numbers and other deal specific entries are applicable to which
sections, paragraphs, and line items of the operative contracts and
documents; and it is further
5. ORDERED, ADJUDGED, AND DECREED that Respondent shall




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modify its training programs and training materials as necessary to incorporate any
prohibitions and requirements included in this Consent Order; and it is farther
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6. ORDERED, ADJUDGED, AND DECREED that Respondent, within
thirty days of the entry of this Consent Order with the Clerk of this Court, shall
provide training to all Sales Staff concerning the terms of this Consent Order
including:
(a) the specific business practices and conduct prohibited under
this Consent Order, including deceptive or misleading business practices,
signage of blank contracts, prohibition of cash tips, and submitting false or
inaccurate financing applications;
(b) an express warning that deceptive or misleading business
practices will not be tolerated by Respondent's management;




                                                                                     Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 32 of 45 PageID #:
(c) a description of the remedial steps that will be taken against
Sales Staff who violates any term of this Consent Order or otherwise engages
in improper sales practices;
(d) an express warning that deceptive business practices may carry
legal consequences for Sales Staff, including civil and criminal liability; and
(e) a description of the enhanced procedures Respondent has
implemented to detect deceptive or misleading sales practices, including those
policies and procedures set forth in paragraphs 8 to 15 below; and it is further
7. ORDERED, ADJUDGED, AND DECREED that Respondent shall obtain
and maintain a written form for each Sales Staff member acknowledging by
signature that he or she has received and understood the information provided in




                                                                                                                         1003
the above-referenced training; and it is further;
8. ORDERED, ADJUDGED, AND DECREED that Respondent shall adopt
and implement policies and procedures sufficient to ensure that Sales Staff comply
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with the terms of this Consent Order. These policies and procedures shall include
but are not limited to conducting periodic telephone consumer satisfaction surveys
of at least ten recent vehicles purchasers per month. Respondent shall conduct
these surveys monthly, until January 1, 2023, and shall design the survey to
evaluate the sales practices of the Sales Staff, particularly evaluating sales practices
related to the sale of Aftermarket Items, promises during transactions to refinance
consumers' loans in the future, and the accuracy of the information submitted to
lenders. Respondent shall not allow the Sales Staff to coach or guide the consumers
regarding their answers to the consumer satisfaction surveys; and it is further
9. ORDERED, ADJUDGED, AND DECREED that Respondent shall




                                                                                           Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 33 of 45 PageID #:
establish and notify all it employees in writing that all consumer complaints,
whether submitted in writing or made orally, which allege deceptive sales or lending
practices, must be directed to the General Manager, or in his or her absence a
management level employee designee. For each such complaint, Respondent shall
create a record of the complaint and retain such records for no less than three years.
Each such record shall include:
(a) the name and title of the manager reviewing the complaint;
(b) the nature of such complaint and the remedy requested;
(c) the name and address of the complainant;
(d) the date the complaint was submitted and the transaction date;
(e) the name(s) of the Sales Staff involved in the transaction;




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(f) the steps taken to investigate the complaint;
(g) Respondent's conclusions after conducting its investigation;
(h) any corrective action offered to the complainant; and
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(i) remedial action for the Sales Staff involved; and it is further
10. ORDERED, ADJUDGED, AND DECREED that Respondent shall
conduct a prompt and thorough investigation of all customer complaints concerning
Sales Staff. After completing its investigation, Respondent shall respond to the
consumer's complaint in writing; and it if further
11. ORDERED, ADJUDGED, AND DECREED that in the event that
Respondent determines that a Sales Staff member has violated any term of this
Consent Order or otherwise engaged in deceptive or misleading sales practices,
Respondent shall take prompt and appropriate remedial actions; and it is further
12. ORDERED, ADJUDGED, AND DECREED that in the event Respondent




                                                                                     Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 34 of 45 PageID #:
determines a Sales Staff member has violated any term of this Consent Order or has
otherwise engaged in improper sales practices, Respondent shall conduct an
investigation into whether other customers whose sales involved that Sales Staff
member were subject to sales practices that violated the terms of this Consent
Order, and shall document all steps taken during such investigation. Such
investigation shall include, but not be limited to:
(a) an in-person interview with the Sales Staff member
(b) a phone survey of all consumers whose transactions were
conducted in-part by that Sales Staff member during the three months prior
to the alleged improper sales practice;
(c) a review of the deal jackets for all consumers whose transactions




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were conducted wholly or in-part by that Sales Staff member during the three
months prior to the alleged improper sales practice; and
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(d) a search to determine if there were prior complaints against the
Sales Staff member; and it is further
13. ORDERED, ADJUDGED, AND DECREED that in the event that
Respondent determines that a Sales Staff member has violated any term of this
Consent Order or has otherwise engaged in improper sales practices that resulted
in the economic harm a customer, Respondent shall offer that customer full
compensation for any economic harm that resulted directly from such conduct. This
compensation may include, among other things, a full refund all Aftermarket Items
without regard to the installation of such items, monetary compensation equivalent
to the amount of savings a consumer could have recognized based on a promise to




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 35 of 45 PageID #:
refinance in the future, or rescission of the transaction if the sale would not have
occurred but for the deceptive activity; and it is further
14. ORDERED, ADJUDGED, AND DECREED that Respondent shall not
subject non-English speaking consumers to misleading or deceptive practices based
on the consumers' inability to read or speak English; and it is further
15. ORDERED, ADJUDGED, AND DECREED that Respondent will
conduct periodical evaluations of financing applications prepared by its Sales Staff.
Each evaluation shall include contacting the borrower to verify the financial
information recorded on the financing application. Star shall randomly conduct at
least one evaluation per month for each employee that prepares these applications;
and it is further




                                                                                                                            1006
RESTITUTION AND NOTICE OF SETTLEMENT
16. ORDERED, ADJUDGED, AND DECREED that within one week of the
entry of this Order, Respondent shall pay Four Thousand, Five Hundred Dollars
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($4,500) to the NYAG to publish notice of this settlement in the World Journal, a
Chinese-language newspaper, in order to locate additional potential restitution
recipients.
(a) The NYAG will publish the notices of settlement on the first
possible date after the above-referenced payment is received and processed;
(b) The notice will be published on Thursday through Sunday in
black and white on one quarter of a page in Section A of the World Journal's
New York print edition and the E-Paper, and will also be published for one
month on the World Journal's web site;
(c) The costs for publication listed above reflect the regular




                                                                                    Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 36 of 45 PageID #:
advertising rates for the World Journal as of September 14, 2020. If the World
Journal advertising rates are adjusted prior to the dates of publication of this
notice, Respondent's costs shall be modified accordingly;
(d) The notice shall be an accurate translation of the language
annexed hereto as Exhibit A, translated into traditional Chinese for the
newspaper and both simplified and traditional Chinese on the website;
(e) Any consumer who responds by contacting the NYAG within
ninety days of the final publication date of this notice in the World Journal
newspaper may also be eligible for restitution if their complaint alleges
deceptive business practices and fraud consistent with the activities
described in paragraphs 8 through 69 of the Verified Petition. The process to




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establish if a complainant is eligible for restitution and as well as the
appropriate amount of restitution shall be determined as follows:
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(i) Consumer complainants may be eligible for restitution if
they purchased a used vehicle from Respondent after negotiating the
sale in Chinese on or between January 1, 2014 and March 1, 2018;
(ii) The NYAG will forward to Respondent a copy of each
complaint form received within the ninety-day window;
(iii) Respondent will be allowed ten days to provide the deal
jacket for the transaction and a written response to the complaint to
the NYAG;
(iv) The NYAG, based on the consumer's complaint statement,
Respondent's written response to that complaint, and a review of the




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 37 of 45 PageID #:
complainant's deal jacket, shall establish in good faith whether the
complainant is entitled to restitution, and if so, the appropriate
restitution amount; and
(v) The NYAG shall be the final arbiter of all such claim.
(f) Within thirty days of the end of the ninety-day window, the NYAG
will forward a payment demand to Respondent for any consumers the NYAG
deemed eligible for restitution based on the process described above; and
(g) Within thirty days of receipt of that demand, Respondent shall
pay the full amount of additional restitution due, payable to the State of New
York and delivered to 55 Hanson Place, Suite 1080, Brooklyn, New York
11217, to the attention of Matthew S. Eubank, an Assistant Attorney General




                                                                                                                            1008
at the Brooklyn Regional Office, and the NYAG shall distribute the payments
to the eligible recipients; and it is further
17. ORDERED, ADJUDGED, AND DECREED that Respondent shall pay
restitution in the amount of One Hundred and Eighty-Six Thousand, Eight Hundred
and Fifty-Five Dollars ($186,855) as and for the twenty-one individuals listed in the
"NYAG Restitution List for Known-Consumers" annexed hereto as Exhibit B, payable
to the State of New York and delivered to 55 Hanson Place, Suite 1080, Brooklyn,
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New York 11217, to the attention of Matthew S. Eubank, an Assistant Attorney
General at the Brooklyn Regional Office, and the NYAG shall distribute the payments
to these consumers. Respondent shall deliver this restitution payment to the NYAG
so that it is received by either December 1, 2020, or within one week of the entry of
this order, whichever comes last; and it is further
PENALTIES, COSTS, AND DISBURSEMENTS
18. ORDERED, ADJUDGED, AND DECREED that Respondent shall pay a
civil penalty the sum of One Hundred Thousand Dollars ($100,000.00) to the
Attorney General for this inquiry. Respondent shall pay the penalty by wire transfer,
certified check, or bank check payable to the State of New York and delivered to the




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 38 of 45 PageID #:
State of New York Office of the Attorney General, to the attention of Matthew S.
Eubank, Assistant Attorney General at the New York State Office of the Attorney
General, Brooklyn Regional Office, 55 Hanson Place, Suite 1080, Brooklyn, NY.
Respondent shall deliver this restitution payment to the NYAG so that it is received
by either March 1, 2021, or within one week of the entry of this order, whichever
comes last; and it is further
19. ORDERED, ADJUDGED, AND DECREED that Respondent shall pay
to the State of New York:
(a) statutory costs of Two Thousand Dollars ($2,000) pursuant to
CPLR § 8303(a)(6). This payment shall be made payable to the State of New
York and delivered to 55 Hanson Place, Suite 1080, Brooklyn, New York




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11217, to the attention of Matthew S. Eubank, an Assistant Attorney General
at the Brooklyn Regional Office; and
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(b) disbursements of Six Thousand, One Hundred and Sixty-Three
Dollars ($6,163) pursuant to CPLR Â§ Â§ 8301(a) (13) for the cost of written
translation services used by the NYAG during the investigation. This payment
shall be made payable to the State of New York and delivered to 55 Hanson
Place, Suite 1080, Brooklyn, New York 11217, to the attention of Matthew S.
Eubank, an Assistant Attorney General at the Brooklyn Regional Office; and
(c) Respondent shall deliver these payments to the NYAG so they
are received by either March 1, 2021, or within one week of the entry of this
order, whichever comes last and it is further
COMPLIANCE




                                                                                         Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 39 of 45 PageID #:
20. ORDERED, ADJUDGED, AND DECREED that Respondent shall
submit to the NYAG annual reports within ten days of January 1 on 2021 and 2022
for all activity related to this Consent Order during the prior calendar year,
including:
(a) a sworn statement certifying that Respondent has continued to
comply with the provisions of the Consent Order; and
(b) a sworn statl addement indicating whether Respondent
identified any violations of the Consent Order by a member of its Sales Staff
and the actions taken pursuant to Paragraphs 11 through 13 to address such
violation; and it is further
ENFORCEMENT




                                                                                                                             1010
21. ORDERED, ADJUDGED, AND DECREED that failure to comply with any
provision of this Consent Order shall be considered a violation of this Consent Order.
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The NYAG may upon application with notice of twenty days, take any and all other
steps available, including contempt, to enforce this Consent Order; and it is further
22. ORDERED, ADJUDGED, AND DECREED that upon application by the
NYAG showing that Respondent, after receiving a ten-day written notice to cure from
the NYAG, has failed to pay any of the amounts due as restitution, penalties, costs,
and disbursements required in this Consent Order, the Court shall enter a money
judgment in the amount due plus interest at the rate of nine percent per year
compounding daily from the date of violation or nonpayment against Respondent and
the NYAG shall have execution thereof; and it is further
PRIVATE RIGHT OF ACTION




                                                                                          Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 40 of 45 PageID #:
23. ORDERED, ADJUDGED, AND DECREED that nothing herein shall be
construed to deprive any person of any right or remedy to pursue a private action
against Respondent; and it is further
NOTICES AND CHANGE OF ADDRESS
24. ORDERED, ADJUDGED, AND DECREED that any notices, statements,
or other written documents required by this Consent Order shall be provided by first-
class mail to the intended recipient at the addresses set forth below, unless the party
changing such address specifies a different address in writing.
For the plaintiff, to:
Attorney General of the State of New York
Brooklyn Regional Office,




                                                                                                                              1011
55 Hanson Place, Suite 1080,
Brooklyn, New York 11217
For the Respondent, to:
Stevan H. LaBonte, Esq.
Labonte Law Group, PLLC.
333 Jericho Turnpike, Ste. 200
Jericho, NY 11753
Such notices, statements, and documents shall be deemed to have been given upon
mailing; and it is further
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25. ORDERED, ADJUDGED, AND DECREED that Respondent shall
provide written notice to the Attorney General of any change in address within ten
days of such change; and it is further
CONTINUING JURISDICTION
26. ORDERED, ADJUDGED, AND DECREED that this Court shall retain
jurisdiction of this action for the purpose of carrying out or modifying the terms of
this Consent Order, or granting such further relief as the Court deems just and
proper.
Dated: Queens County, New York
November 10




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 41 of 45 PageID #:
, 2020
ENTER FORTHWITH
Honorable: Richard G. Latin
Justice of the Supreme Court
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INDEX NO. 718092/2020
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EXHIBIT A
Notice to be published in the World Journal newspaper, NY Print Edition:
Notice of Settlement / Star Toyota of Bayside
The Attorney General of the State of New York has entered into a settlement with
Star Toyota of Bayside to resolve the state's investigation of Star Toyota's deceptive
sales and lending practices targeting Chinese-speaking consumers.
If you are a Chinese-speaker and believe Star Toyota deceived you on the purchase
or lease of a used vehicle between January 1, 2014 and March 1, 2018, please
visit us at <LINK TO OUR WEBSITE ADDRESS>. If you do not have intemet
access, you may instead call the Attorney General's Brooklyn Regional Office at




                                                                                         Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 42 of 45 PageID #:
718-560-2040. Chinese interpreters will be available when you call. You may be
eligible for money back, but your time to file a claim is limited so please contact
the Attorney General's Office as soon as possible.
Notice to be published in the World Journal E-Paper and website:
Notice of Settlement / Star Toyota of Bayside
The Attorney General of the State of New York has entered into a settlement with
Star Toyota of Bayside to resolve the state's investigation of Star Toyota's deceptive
sales and lending practices targeting Chinese-speaking consumers.
If you are a Chinese-speaker and believe Star Toyota deceived you on the purchase
or lease of a used vehicle between January 1, 2014 and March 1, 2018, please
visit us at <LINK TO OUR WEBSITE ADDRESS>. You may be eligible for money,




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but your time to file a claim is limited so please contact the Attorney General's
Office as soon as possible.
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Exhibit B
Restitution Chart
Consumer Name Restitution
Lujie Chen $7,620
Pei Jie Chen $6,429
Chenglcui Chu $9,514
Ning Escobar $11,283
Xu Han $10,908
Shuciang Hu $16,243
Xiangfu Jiang $703




                                                 Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 43 of 45 PageID #:
Xiangchun Li $7,300
Yuan Qiu $8,143
Guohui Ren $3,777
Yajun Sui $7,177
Peng Sun $5,957
Gaosan Xu. $11,461
Bin Yang $23,230
Li Zhang $11,940
Sui Liang Zhang $12,794
Ying Zhang $5,707
Hong Sheng Zhao $3,931




                                                                                     1014
Ye Zhou $10,056
Tianqi Zhu $5,089
Jin Zhuang $0
Shaochun Zhuo $7,594
TOTAL: $186,855
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RECEIVED NYSCEF: 09/20/2021
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS
THE PEOPLE OF THE STATE OF NEW YORK,
by LETITIA JAMES, Attorney General of the
State of New York
Petitioner,
-against-
Star Auto Sales of Bayside, Inc. d/b/a/ Star
Toyota of Bayside,
Respondent.




                                                                                       Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 44 of 45 PageID #:
SATISFACTION
OF JUDGMENT
INDEX NO.: 2020/718092
1AS PART: 40
ASSIGNED
TO JUSTICE:
Richard Latin
WHEREAS, a judgment was entered in the above action on November 10,
2020, in favor of Petitioner, the People of the State of New York, by Letitia James,
Attorney General of the State of New York, against Star Auto Sales of Bayside, Inc.,
d/b/a Star Toyota of Bayside in the amount of Two Hundred and Ninety-Nine




                                                                                                                           1015
Thousand, Five Hundred and Eighteen Dollars ($299,518), reflected in paragraphs
16 through 18 of the Consent Order and Judgment dated November 10, 2021, to
which, in accordance with paragraph 16 of the Consent Order and Judgment dated
November 10, 2020, additional restitution funds in the amount of Seventy-Five
Thousand,-Three-Frardred and Fifty-Four Dollars ($75,354) were added for a total
of Three Hundred and Seventy-Four Thousand, Eight Hundred and Seventy-Two
Dollars ($374,872), and was duly docketed and entered in the Office of the Clerk of
the County of Queens, and whereas said judgment has been fully paid.
THEREFORE, full and complete satisfaction of said judgment of Three
Hundred and Seventy-Four Thousand, Eight Hundred and Seventy-Two ($374,872)
is hereby acknowledged, and the Clerk of the County of Queens is hereby authorized
and directed to satisfy and discharge the same, without regard to Respondent's
existing injunctive obligations as awarded to Petitioner in this proceeding.
People of the State of New York, by
Letitia James Attorney General of the
State of New York-34f
By:
MATTHEW S. EUBANK
Assistant Attorney General, of Counsel
Attorney for Petitioner
55 Hanson Place, Suite 1080
Brooklyn, NY 11217
(718) 560-2040
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STATE OF NEW YORK
COUNTY OF KINGS
on 9(010 .2. 1 , 2021, before me, the undersigned, personally
appeared Matthew S. Eubank, personally known to me or proved to me on the basis
of satisfactory evidence to be the individual, whose name is subscribed to the within
instrument and acknowledged to me that she executed the same in her capacity and
that by her signature on the instrument, the individual, or the person upon behalf
of which the individual acted, executed the instrument.
JAMES SFIROUDIS
Notary Public - State of New York




                                                                                        Case 1:18-cv-05775-ERK-TAM Document 108-3 Filed 08/21/23 Page 45 of 45 PageID #:
Registration No. OISF6114850
Qualified in Queens County
Commission Expires Aug. 23,2qi
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